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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                                :      CHAPTER 7
                                                      :
SANDRA BROOKS,                                        :      CASE NO. 18-69497-BEM
aka Sandra Hitt Brooks                                :
aka Sandra Lynn Brooks                                :
                                                      :
          Debtor.                                     :

                         NOTICE OF ABANDONMENT OF CERTAIN
                              PROPERTY OF THE ESTATE

          PLEASE TAKE NOTICE that pursuant to 11 U.S.C. § 554(a) and Federal Rule of
Bankruptcy Procedure 6007, S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the above-
captioned estate, proposes to abandon the following described property as burdensome, fully
exempt with no equity, fully encumbered and/or of inconsequential value and benefit to Debtor’s
estate:
             Interest in Greenstone Holcomb Bridge, LLC
             Any future payments relating to interest in SMG II, LLC

          PLEASE TAKE FURTHER NOTICE that any objections to this proposed
abandonment must be filed with the Clerk of the United States Bankruptcy Court, 1340 U.S.
Courthouse, 75 Ted Turner Drive, SW, Atlanta, GA 30303 and served upon the Trustee at the
address shown below within fourteen (14) days from the date of service of this Notice. If no
objection is filed, the proposed abandonment shall be effective as provided in Federal Rule of
Bankruptcy Procedure 6007 without further notice, hearing or order of the Court. If an objection
is timely filed, a hearing thereon will be scheduled with notice provided to the objecting party or
parties, the Trustee, the U.S. Trustee, and the Debtor.

          This 30th day of June, 2022.

                                                        /s/ S. Gregory Hays
Hays Financial Consulting, LLC                        S. Gregory Hays
2964 Peachtree Road, NW, Ste 555                      Chapter 7 Trustee
Atlanta, GA 30305
(404) 926-0060
